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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
     

        NORTH ATLANTIC
        OPERATING COMPANY,
        INC.; NATIONAL TOBACCO
        COMPANY, L.P.,

                      Plaintiff,
                 v.                             Case No. 15-14013
                                                Hon. Terrence G. Berg
        JINGJING JUANG, et al.,

                      Defendants.

        ENTRY OF DEFAULT JUDGMENT FOLLOWING ORDERS
          GRANTING PLAINTIFFS’ MOTIONS FOR DEFAULT
            JUDGMENT AS TO CERTAIN DEFENDANTS
         This matter is before the Court on Plaintiff North Atlantic

    Operating Company, Inc. and Plaintiff National Tobacco Company,

    L.P.’s Application for Entry of Default Judgment. Dkt. 286. On May
    9, 2017, the Court granted in part Plaintiffs’ Motion for Default

    Judgment. Dkt. 276. That order also awarded statutory damages in

    the amount of $200,000 per group of defendants and ordered

    Plaintiffs to submit an accounting of its attorneys’ fees, costs, and

    investigative fees. Id. at Pg ID 2416-17. Plaintiffs submitted the

    requested information, Dkt. 277, 278, and the Court issued an order
    awarding fees and costs in the amount of $333,519.59. Dkt. 284 at


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    Pg ID 2529. Divided among the fourteen defendants against whom

    the Court granted default judgment, the fees and costs award

    amounts to $23,822.83 per group. In total, the statutory damages

    and fees and costs awarded to Plaintiffs are $3,133,519.59, or

    $223,822.83 per group of defendants. Plaintiffs now seek entry of

    default judgment in the amounts previously awarded, set forth in a

    separate document pursuant to Federal Rule of Civil Procedure 58

    and Local Rule 58.1.

          Accordingly, it is ORDERED AND ADJUDGED that judgment

    be entered in favor Plaintiffs against the following groups of
    defendants, jointly and severally, in the amount of $223,822.83 per

    group:

    (a)     Francis Ferland and eBay Seller bestdealmontreal;
    (b)     Kale Huang, Kal Huang, and eBay Sellers Kyystore and

            Kaltek-Shop;

    (c)     Mimi     Nguyen     and       eBay   Sellers     mimifbabyy,

            honestfisherman2015, and honestvalues1;

    (d)     Narek Nazaryan and eBay Seller hookupdealsforyou;

    (e)     Harvey Dan, Speedzone, and eBay Seller harda-enlhui;
    (f)     Jaime Ortiz and eBay Seller auctionlegends;

    (g)     Andrew Russell and eBay Seller dollarplusdiscount1;

    (h)     DHGate Seller jackyhu;
    (i)     DHGate Seller cngzss;

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    (j)     DHGate Seller cngzss1;

    (k)     DHGate Seller kathy0577;

    (l)     JingJing     Huang,    Alice       Huang,   and   eBay     Seller

            HUAPUR_6233;

    (m)     Anle Pan, Super Home Variety Store, Inc., and eBay Seller

            ANLPA91; and

    (n)     Zhangqi Pan, Ryan Pan, and eBay Seller RYAN0201168.

          This case remains open and pending as to the remaining

    defendants.

          SO ORDERED.
                                   s/Terrence G. Berg
                                   HON. TERRENCE G. BERG
                                   UNITED STATES DISTRICT JUDGE 


    Dated: September 10, 2018.



                             Certificate of Service
             I hereby certify that this Order was electronically filed,
        and the parties and/or counsel of record were served on
        September 10, 2018.
                                  s/A. Chubb
                                  Case Manager

     




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